           Case 2:01-cr-00166-JCM-LRL Document
           Case 2:01-cr-00166-JCM-LRL Document 96
                                               97 Filed
                                                  Filed 09/16/20
                                                        09/18/20 Page
                                                                 Page 1
                                                                      1 of
                                                                        of 3
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 1   NICHOLAS A. TRUTANICH
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 2   District of Nevada
     Nevada Bar Number 13644
 3   KEVIN D. SCHIFF
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 4   501 Las Vegas Blvd. South, Suite 1100
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 5   PHONE: (702) 388-6336
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 6   Kevin.Schiff@usdoj.gov
     Attorneys of the United States
 7
                               UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA

 9    UNITED STATES OF AMERICA,                          2:01-cr-00166-JCM-LRL
                                                         2:03-cr-00295-JCM-PAL
10                            Plaintiff,
                                                     Stipulation to Continue Supervised
11                 vs.                               Release Hearing (third request)

12    RICARDO MARTINEZ,

13                           Defendant.

14

15
                 It is stipulated and agreed, by and between Nicholas A. Trutanich, United States
16
     Attorney; Kevin D. Schiff, Assistant United States Attorney, counsel for the United States
17
     of America, and Brian Pugh, Assistant Federal Public Defender for defendant Ricardo
18
     Martinez;
19
                 That the supervised release hearing in the above captioned matters currently set
20
     for September 23, 2020, be continued for approximately 30 days.
21
                 Martinez has recently been arrested on new charges in the State of Nevada, and
22
     is currently incarcerated. The parties are collecting discovery regarding the new arrest, and
23

24
     require additional time to prepare for the supervised release hearing.
     Case 2:01-cr-00166-JCM-LRL Document
     Case 2:01-cr-00166-JCM-LRL Document 96
                                         97 Filed
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                                                  09/18/20 Page
                                                           Page 2
                                                                2 of
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 1
        DATED this 16th day of September, 2020.
 2
                                     NICHOLAS A. TRUTANICH
 3                                   United States Attorney

 4                                   /s/ Kevin Schiff
                                     Kevin D. Schiff
 5                                   Assistant United States Attorney

 6                                   /s/ Brian Pugh
                                     Brian Pugh, AFPD.
 7                                   Counsel for Defendant

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           Case 2:01-cr-00166-JCM-LRL
           Case 2:01-cr-00166-JCM-LRL Document
                                      Document 96
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                                                        09/18/20 Page
                                                                 Page 3
                                                                      3 of
                                                                        of 3
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 1                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 2
      UNITED STATES OF AMERICA,                        2:01-cr-00166-JCM-LRL
 3                                                     2:03-cr-00295-JCM-PAL
                             Plaintiff,
 4
                  vs.                               Order to Continue Supervised Release
 5                                                  Hearing (third request)
      RICARDO MARTINEZ,
 6
                            Defendant.
 7

 8
            Based on the pending Stipulation of counsel, and good cause appearing therefore,
 9
     the Court orders the supervised release hearing in both above captioned matters currently
10
     scheduled for September 23, 2020, shall be continued to
11
     November 6, 2020 at 10:00 a.m
     __________________________________.
12
                                               IT IS SO ORDERED
13
                                               ________________________________
14                                             THE HONORABLE JAMES C. MAHAN
                                               UNITED STATES DISTRICT JUDGE
15
                                                      September 18, 2020
                                               DATED:________________________
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